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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
   LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC


   This document relates to:                          ORDER DENYING MOTION TO
                                                      MOVE CASE TO LATER WAVE
   Fallon v. Monsanto Co.,
   Case No. 3:20-cv-00248-VC                          Re: Dkt. No. 19356



        The failure to understand the significance of Pretrial Order 288 is entirely the fault of

plaintiff’s counsel, and there is no excuse for it. Accordingly, the only circumstance in which the

Court could justifiably alter the case schedule to permit the plaintiff to identify a new expert is if

plaintiff’s counsel agrees to pay the costs and attorneys’ fees incurred by Monsanto in taking the

deposition of the plaintiff’s expert and filing the motion to exclude that expert. Plaintiff’s

counsel may not pass the cost of their malpractice on to their client. Within 7 days of this order,

plaintiff’s counsel must file a declaration stating either: (i) that they will pay all reasonable costs

and attorneys’ fees incurred by Monsanto in taking the deposition of the plaintiff’s expert and

filing the motion to exclude that expert, without passing the cost on to their client; or (ii) that

they will not pay those costs and fees. If they agree to pay the costs and fees, the motion to move

the case to a later wave will be granted. If they don’t, the motion to move the case to a later wave

will be denied, and plaintiff’s counsel can deal with the repercussions of their malpractice.



        IT IS SO ORDERED.
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Dated: October 25, 2024
                                   ______________________________________
                                   VINCE CHHABRIA
                                   United States District Judge




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